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                                 CERTIFICATE OF SERVICE

I hereby certify that I, Shamir Patel, an attorney, caused a true and correct copy of the foregoing,
NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF’S CLAIMS AGAINST CERTAIN
DEFENDANTS, to be delivered to all counsel of record by electronic service via LexisNexis
File & Serve, on November 4, 2009, for posting and notification to all parties.


                                                              _/s/ Shamir Patel________
                                                              Shamir Patel
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                                                              Washington, DC 20006
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